               Case 18-11625-LSS              Doc 521       Filed 01/22/20        Page 1 of 15




                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                                    ) Chapter 11
                                                          )
TINTRI,INC.,‘                                             ) Case No.: 18-11625(LSS)
                                                          )
                                   Debtor.                )
                                                             Objection Deadline: February 12,2020 at 4:00 p.m.
                                                                 Hearing Date: February 18,2020 at 10:00 a.m.

                             FINAL APPLICATION FOR COMPENSATION
         AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL &
    JONES LLP,AS COUNSEL TO THE DEBTOR AND DEBTOR IN POSSESSION
          FOR THE PERIOD FROM JULY 10.2018 THROUGH JANUARY 10.2020


 Name of applicant:                                                    Pachulski Stang Ziehl & Jones LLP

 Name of client:                                                       Debtor and Debtor in Possession


 Time period covered by this application:                              July 10,2018 through September 30,2018

 Total compensation sought this period:                                $1,040,271.50

 Total expenses sought this period:                                    $62,344.95

 Petition date:                                                        July 10,2018

 Retention date:                                                       July 10,2018

 Date of order approving employment:                                   August 8, 2018

  Total fees approved by interim order to date:                        $0.00


  Total expenses approved by interim order to date:                    $0.00


  Total allowed fees paid to date:                                     $0.00


  Total allowed expenses paid to date:                                 $0.00


  Blended rate in this application for all attorneys:                  $770.85


  Blended rate in this application for all timekeepers:                $691.49



• The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.


DOCS SF;102552.2 83990/002
               Case 18-11625-LSS        Doc 521          Filed 01/22/20   Page 2 of 15




 Name of applicant:                                             Pachulski Stang Ziehl & Jones LLP
 Fees sought in this application already paid pursuant
 to a monthly compensation order but not yet                    $705,068.40
 allowed:
 Expenses sought in this application already paid
 pursuant to a monthly compensation order but not yet           $53,185.88
 allowed:

 Number of professionals included in this application:          14


 If applicable, number of professionals in this application     N/A
 not included in staffing plan approved by client:
 If applicable, difference between fees budgeted and            N/A
 compensation sought for this period:
 Number of professionals billing fewer than 15 hours to         6
 the case during this period:
 Are any rates higher than those approved or disclosed at
 retention? If yes, calculate and disclose the total            No.
 compensation sought in this application using the rates
 originally disclosed in the retention application:



This is a:            monthly      interim      IXI final application.

                 The total time expended for fee application preparation is approximately 12 hours

and the corresponding compensation requested is approximately $7,500.00.

                                PRIOR APPLICATIONS FILED


   Date          Period Covered         Requested           Requested         Approved      Approved
   Filed                                     Fees           Expenses            Fees         Expenses
 09/26/18      07/10/18-07/31/18        $313,747.25          $18,197.22       $250,997.80    $18,197.22
 10/25/18      08/01/18 -08/31/18       $395,221.25          $12,472.43       $395,221.25    $12,472.43
 10/26/18      09/01/18-09/30/18        $ 80,036.50          $10,263.62       $ 80,036.50    $10,263.62
 01/17/19      10/01/18-10/31/18        $ 53,785.50          $10,946.26       $ 53,785.50    $10,946.26
 01/17/19      11/01/18-11/30/18        $ 38,543.00          $ 1,306.35       $395,221.25    $ 1,306.35
 01/21/20      12/01/18-01/10/20        $158,936.00          $ 9,159.07           Pending       Pending




DOCS_SF:102552.2 83990/002                           2
               Case 18-11625-LSS        Doc 521       Filed 01/22/20   Page 3 of 15




                                    PSZ«&J PROFESSIONALS


                                Position of the Applicant,
                                Number of Years in that
                                                                  Hourly
                                                                  Billing     Total
 Name of Professional           Position, Prior Relevant                                  Total
                                                                   Rate       Hours
        Individual           Experience, Year of Obtaining                    Billed
                                                                                       Compensation
                                                                 (including
                               License to Practice, Area of
                                                                  Changes)
                                        Expertise
 David J. Barton             Partner 2000; Member CA Bar           975.00      0.60        $585.00
                             1981
 Henry C. Kevane             Partnerl997; Member CA Bar                       49.00
                                                                   975.00               $47,775.00
                             1986
Iain A.W. Nasatir            Partner 1999; Member NY Bar           975.00      3.60      $3,510.00
                             1983; Member CA Bar 1990
                                                                   925.00      0.80        $740.00
 Kenneth H. Brown            Partner 2001; Member CA Bar           975.00      9.40      $9,165.00
                             1981
 John D. Fiero               Partner 2002; Member CA Bar           925.00     75.90     $70,207.50
                             1988
                                                                   875.00     306.20   $267,925.00
                             Travel Rate                           462.50     11.80      $5,457.50
                             Travel Rate                           437.50     36.40     $15,925.00
 Steven J. Kahn              Of Counsel 2001; Member CA            925.00      3.30      $3,052.50
                             Bar 1977
 James E. O’Neill            Partner 2005; Member DE Bar           895.00      7.60      $6,802.00
                             2001; Member PA Bar 1985
                                                                   850.00     153.70   $130,645.00
 Colin R. Robinson           Of Counsel 2012; Member NJ &
                             PA Bars 2001; Member DE Bar           795.00     12.10      $9,619.50
                             2010
                                                                   750.00     177.60   $133,200.00
 John W. Lucas               Partner 2014; Member NY Bar                       8.30
                                                                   775.00                $6,432.50
                             2004; Member CA Bar 2010
                                                                   725.00     105.10    $76,197.50
 William L. Ramseyer         Of Counsel 1989: Member CA
                                                                   775.00      5.90      $4,572.50
                             Bar 1980
                                                                   725.00     12.80      $9,280.00
 Jason H. Rosell             Of Counsel 2010; Member CA            695.00     16.10     $11,189.50
                             Bar 2010; Member NY Bar 2011
                                                                   595.00     186.30   $110,848.50
                             Travel Rate                           297.50     22.00      $6,545.00
 Peter J. Keane              Of Counsel 2018; Member PA
                             Bar 2008; Member DE & NH Bar          625.00      7.60      $4,750.00
                             2010




DOCS SF:102552.2 83990/002                        3
               Case 18-11625-LSS       Doc 521       Filed 01/22/20   Page 4 of 15




                                Position of the Applicant,
                                Number of Years in that
                                                                 Hourly
                                                                 Billing     Total
 Name of Professional           Position, Prior Relevant                                 Total
                                                                  Rate       Hours
        Individual           Experience, Year of Obtaining                   Billed
                                                                                      Compensation
                                                                (including
                               License to Practice, Area of
                                                                 Changes)
                                         Expertise
Joseph M. Mulvihill          Associate 2015; Member DE Bar        495.00      0.30        $148.50
                             2014; Member PA Bar 2015
Leslie Anne Forrester        Law Library Director                 395.00      1.00        $395.00
Elizabeth C. Thomas          Paralegal 2016                       395.00      0.40        $158.00
                                                                  375.00      1.50        $562.50
 Karina K. Yee               Paralegal 2000                       395.00      1.20        $474.00
Patricia E. Cuniff           Paralegal 2000                       395.00     60.50     $23,897.50
                                                                  375.00     132.20    $49,575.00
Patricia J. Jeffries         Paralegal 1999                       395.00      0.40        $158.00
                                                                  375.00     18.10      $6,787.50
 Cheryl A. Knotts            Paralegal 2000                       375.00      2.20        $825.00
                                                                  350.00      5.30      $1,855.00
 Beatrice M. Koveleski       Case Management Assistant            325.00      1.20        $390.00
                                                                  295.00      6.10      $1,799.50
 Charles J. Bouzoukis        Case Management Assistant            325.00      5.30      $1,722.50
                                                                  295.00     23.70      $6,991.50
 Karen S. Neil               Case Management Assistant            325.00     11.30      $3,672.50
                                                                  295.00      9.70      $2,861.50
 L. Sheryle Pitman           Case Management Assistant            325.00      2.10        $682.50
                                                                  295.00      9.50      $2,802.50
 Andrea R. Paul              Case Management Assistant            295.00      0.30         $88.50


                                       Grand Total:      $1,040,270.51
                                       Total Hours:            1504.40
                                       Blended Rate:           $691.40




DOCS SF:102552.2 83990/002                       4
               Case 18-11625-LSS     Doc 521       Filed 01/22/20   Page 5 of 15




                              COMPENSATION BY CATEGORY


               Project Categories                   Total Hours             Total Fees
Accounts Receivable                                       33.70            $ 21,390.50
Asset Analysis/ Recovery                                   1.90            $ 1,734.50
Asset Disposition                                        367.70            $292,462.50
Bankruptcy Litigation                                     98.80            $ 59,266.50
Business Operations                                       36.30            $ 28,972.00
Case Administration                                      231.80            $118,914.50
Claims Administration/ Objections                         46.70            $ 34,212.50
Compensation of Professionals                             38.30            $ 23,822.50
Compensation of Professionals/ Other                      19.50            $ 11,288.00
Employee Matters                                          26.90            $ 18,627.00
Executory Contracts                                       69.10            $ 44,163.00
Fee/Employment Application                                 3.50            $ 2,486.00
Financial Filings                                          7.30            $ 4,455.50
Financing                                                 86.30            $ 75,145.00
First Day                                                 73.00            $ 56,556.00
General Case Strategy Meetings                            12.60            $ 10,335.00
 General Creditors Committee                              15.80            $ 13,247.00
Hearing                                                   36.60            $ 24,228.50
Insurance Coverage/ Issues                                 7.10            $ 5,962.50
Litigation                                                 2.30            $ 1,667.50
Litigation (Non-Bankruptcy)                               22.80            $ 19,941.00
Meeting of Creditors                                       1.10             $      885.00
Non-Working Travel                                        70.20             $ 27,927.50
Plan & Disclosure Statement                               70.20             $ 60,544.00
 Retention of Professionals                               56.90             $ 36,838.50
 Retention of Professionals/ Other                         3.40             $ 2,274.00
 Schedules/SOFA                                           32.30             $ 19,319.00
 Stay Litigation                                          16.30             $ 12,828.50
 Tax Issues                                                2.60             $ 2,223.00
 US Trustee Related Issues                                13.40             $ 8,554.50
 Total                                                 1,504.40           $1,040,271.50




DOCS SF:102552.2 83990/002                     5
               Case 18-11625-LSS              Doc 521       Filed 01/22/20      Page 6 of 15




                                           EXPENSE SUMMARY



         Expense Category                                   Service Provider^                   Total Expenses
                                                           (if applicable)
 Air Fare                                    Alaska Airlines, United Airlines(coach)               $15,001.90
 Airport Parking                             DND Transportation, Eagle Transportation,             $     144.00
                                             KLS Transportation, SFO, Uber
 Auto Travel Expense                                                                               $ 1,519.63
Bloomberg - Online Research                                                                        $ 186.80
 Conference Call                             AT&T,CourtCall                                        $     545.20
 CourtLink                                                                                         $     216.80
 Delivery/Courier Service                    Advita                                                $    6,094.20
Fax Transmittal                                                                                    $      216.00
Federal Express                                                                                    $    2,631.50
Filing Fee                                   USBC DE,USDC DE                                       $    3,192.00
Hotel Expense                                Hotel DuPont, Kimpton                                 $    2,935.89
Lexis/Nexis - Legal Research                                                                       $     236.44
 Outside Services                            Naegeli Reporting Corp., Roadrunner                   $ 5,846.60
                                             Express, Wilcox & Fetzer
 Overtime                                    A. Bader, N. Sanford, S. Stein, T.                     $    535.54
                                             Thompson
 Pacer - Court Research                                                                            $ 1,947.90
 Postage                                                                                           $ 2,795.10
 Reproduction Expense                                                                              $13,454.00
 Reproduction/ Scan Copy                                                                           $ 4,275.40
 Transcript                                  eScribers, Reliable                                   $ 1,514.60
 Travel Expense                               Amtrak, GoGo Air, Ovation Travel, United              $    741.95
                                              WiFi

 Working Meals                                Cafe Sapore, Coffee Mode,Ramen, Senior                $      93.10
                                              Sisig, Starbucks
 Sub-Total                                                                                          $64,124.55
 Less Write-offs                                                                                    <$1,779.60>
 Grand Total                                                                                        $62,344.95




^ PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


DOCS_SF:102552.2 83990/002                              6
                Case 18-11625-LSS              Doc 521        Filed 01/22/20          Page 7 of 15




                          IN THE UNITED STATES BANKRUPTCY COURT


                                   FOR THE DISTRICT OF DELAWARE

In re:                                                       ) Chapter 11
                                                             )
TINTRI, INC.,'                                               ) Case No.: 18-11625(ESS)
                                                             )
                                     Debtor.                 )
                                                               Objection Deadline: February 12, 2020 at 4:00 p.m.
                                                                   Hearing Date: February 18, 2020 at 10:00 a.m.

                             FINAL APPLICATION FOR COMPENSATION
         AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL &
     JONES LLP,AS COUNSEL TO THE DEBTOR AND DEBTOR IN POSSESSION
          FOR THE PERIOD FROM JULY 10, 2018 THROUGH JANUARY 10. 2020

                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

 Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively.

the “Bankruptcy Rules”), and the Order Establishing Proceduresfor Interim Compensation and

Reimbursement ofExpenses ofProfessionals, signed on August 8, 2018 (“Administrative

Order”). Pachulski Stang Ziehl & Jones LLP(“PSZ&J” or the “Firm”). Counsel for the above-

captioned debtor and debtor in possession (the “Debtor”), hereby submits its Final Application

for Compensation and Reimbursement of Expenses as counsel to the Debtor for the Period from

July 10, 2018 through January 10, 2020 (the “Final Application”).

                  By this Final Application, PSZ&J seeks a final allowance of fees in the amount of

$1,047,771.50^ as compensation for necessary professional services rendered, and actual and

necessary expenses in the amount of $62,344.95 (net of write-offs) for a total of $1,110,116.45



' The Debtor and the last four digits of its taxpayer identification numbers are (6978); The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.
^ This amount includes $7,500.00 for the preparation of the Final Application and for assisting other Debtor
professionals with the preparation and filing of their final fee applications and attendance at the final fee hearing.


DOCS SF:102552.2 83990/002
               Case 18-11625-LSS            Doc 521       Filed 01/22/20   Page 8 of 15




and payment of the unpaid amount of such fees and expenses for the period July 10, 2018

through January 10, 2020 (the “Final Period”). In addition, PSZ&J reserves it right to file a

supplement to this Final Application prior to the hearing date, to submit additional fees and

expenses not previously included in the Final Application but incurred prior to the date of the

hearing on the Final Application such as, for example, fees incurred in preparing the Final

Application. In support of this Final Application, PSZ&J respectfully represents as follows:

                                               Background


                 1.          On July 10, 2018 (the “Petition Date”), the Debtor commenced this case

by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor has

continued in possession of its property and continued to operate and manage its business as

debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in the Debtor’s chapter 11 case.

                 2.          The Court has jurisdiction over this matter pursuant to28U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about August 8, 2018, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit monthly applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtor is authorized to pay the Professional eighty percent(80%)of

the requested fees and one hundred percent(100%)of the requested expenses. Beginning with



DOCS SF:102552.2 83990/002                            2
               Case 18-11625-LSS            Doc 521       Filed 01/22/20   Page 9 of 15




the period ending September 30, 2018, at three-month intervals or such other intervals

convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as counsel for the Debtor, was approved effective

as of July 10, 2018 by this Court’s Order Pursuant to Section 327(a) of the Bankruptcy Code,

Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 Authorizing the

Employment and Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and

Debtor in Possession Nunc Pro Tunc to the Petition Date, signed on August 8, 2018 (the

•Retention Order”). The Retention Order authorized PSZ&J to be compensated on an hourly

basis and to be reimbursed for actual and necessary out-of-pocket expenses.

                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES


                                    Compensation Paid and Its Source


                 5.          The monthly fee applications (the “Monthly Fee Applications”) for the

Final Period have been filed and served pursuant to the Administrative Order.

                 6.          On September 26, 2018, PSZ&J filed its First Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from July 10, 2018 through July

31, 2018 (the “First Monthly Fee Applicafon”) requesting $313,747.25 in fees and $18,197.22

(net of write-offs of $912.90 in expenses) in expenses. PSZ&J has received payment of 80% of




DOCS SF:102552.2 83990/002                            3
              Case 18-11625-LSS            Doc 521       Filed 01/22/20   Page 10 of 15




the fees and 100% of the expenses incurred on account of the First Monthly Fee Application. A

true and correct copy of the First Monthly Fee Application is attached hereto as Exhibit A.

                 7.          On October 25, 2018,PSZ&J filed its Second Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from August 1, 2018 through

August 31, 2018 (the “Second Monthly Fee Application”) requesting $395,221.25 in fees and

$12,472.43 in expenses. PSZ&J has received payment of80% of the fees and 100% of the

expenses incurred on account of the Second Monthly Fee Application. A true and correct copy

of the Second Monthly Fee Application is attached hereto as Exhibit B.

                 8.          On October 26, 2018,PSZ&J filed its Third Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from September 1, 2018 through

September 30, 2018 (the “Third Monthly Fee Application”) requesting $80,036.50 in fees and

$10,263.62 in expenses. PSZ&J has received payment of 80% of the fees and 100% of the

expenses incurred on account of the Third Monthly Fee Application. A true and correct copy of

the Third Monthly Fee Application is attached hereto as Exhibit C.

                 9.          On January 17, 2019, PSZ&J filed its Fourth Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from October 1, 2018 through

October 31, 2018 (the “Fourth Monthly Fee Application”) requesting $53,787.50 in fees and

$10,946.26 in expenses. PSZ&J has received payment of 80% of the fees and 100% of the



DOCS SF:102552.2 83990/002                           4
              Case 18-11625-LSS            Doc 521       Filed 01/22/20   Page 11 of 15




expenses ineurred on aecount of the Fourth Monthly Fee Application. A true and correct copy of

the Fourth Monthly Fee Application is attached hereto as Exhibit D.

                 10.         On January 17, 2019,PSZ&J filed its Fifth Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from November 1, 2018 through

November 30, 2018 (the “Fifth Monthly Fee Application”) requesting $38,543.00 in fees and

$1,306.35 in expenses. PSZ&J has received payment of 80% of the fees and 100% of the

expenses incurred on account of the Fifth Monthly Fee Application. A true and correct copy of

the Fifth Monthly Fee Application is attached hereto as Exhibit E.

                 11.         On January 21, 2020, PSZ&J filed its Sixth Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtor and Debtor in Possession, for the Period from December 1, 2018 through

January 10, 2020 (the “Sixth Monthly Fee Application”) requesting $158,936.00 in fees and

$9,159.07 in expenses. The Sixth Monthly Fee Application is pending. A true and correct copy

of the Sixth Monthly Fee Application is attached hereto as Exhibit F.

                  12.        The Monthly Fee Applications covered by this Final Application contain

detailed daily time logs describing the actual and necessary services provided by PSZ&J during

the periods covered by such applications as well as other detailed information required to be

ineluded in fee applications




DOCS SF:102552.2 83990/002                           5
              Case 18-11625-LSS            Doc 521        Filed 01/22/20   Page 12 of 15




                                             Requested Relief


                 13.         By this Application, PSZ&J requests that the Court approve payment of

one-hundred percent(100%)of the fees and 100% of the expenses ineurred by PSZ&J during the

Final Period of July 10, 2018 through January 10, 2020.

                 14.         PSZ&J’s engagement with the Debtor provided that the firm would eharge

either its regular hourly rates for all attorney timekeepers, or an average of $800.00 per hour.

whichever was less. In this case, the actual cost of the attorney time billed to the matter was

$934,573.00, while the $800 per hour rate would have yielded $941,600. Accordingly, the

firm’s aetual hourly rates as stated in this Applieation are the proper yardstick for measuring

PSZ&J’s compensation.

                  15.        At all relevant times, PSZ&J has not represented any party having an

interest adverse to the ease.


                  16.        All serviees for whieh PSZ&J requests eompensation were performed for

or on behalf of the Debtor.


                  17.        PSZ&J has received no payment and no promises for payment from any

source other than the Debtor for services rendered or to be rendered in any eapaeity whatsoever

in connection with the matters eovered by this Final Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for serviees rendered in this ease. PSZ&J has received

payments from the Debtor during the year prior to the Petition Date in the amount of




DOCS SF:102552.2 83990/002                            6
              Case 18-11625-LSS             Doc 521     Filed 01/22/20    Page 13 of 15




$362,063.38, including the Debtor’s filing fee for this case, in connection with the preparation of

initial documents and its prepetition representation of the Debtor.

                 18.         The professional services and related expenses for which PSZ&J requests

final allowance of compensation and reimbursement of expenses were rendered and incurred in

connection with this case in the discharge of PSZ&J’s professional responsibilities as attorneys

for the Debtor in this chapter 11 case. PSZ&J’s services have been necessary and beneficial to

the Debtor and its estate, the creditors and other parties in interest.

                 19.         In accordance with the factors enumerated in section 330 of the


Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a)the complexity of the case,(b)the time expended,(c)the nature and extent

of the services rendered,(d)the value of such services, and (e)the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover,PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.

                  WHEREFORE,PSZ&J respectfully requests that the Court enter an order, in the

form attached hereto, providing that final allowance be made to PSZ&J for the period from July

10, 2018 through January 10, 2020 in the sum of $1,047,771.50 as compensation for necessary

professional services rendered, and actual and necessary expenses in the amount of $62,344.95

(net of write-offs) for a total of $1,110,116.45; that the Debtors be authorized to pay to PSZ&J

the outstanding amount of such sums less any amounts previously paid in connection with the




DOCS_SF:102552.2 83990/002                            7
              Case 18-11625-LSS       Doc 521        Filed 01/22/20   Page 14 of 15




Monthly Fee Applications, up to the amount of any applicable carve outs and retainers; and for

such other and further relief as may be just and proper.

Dated: January 22, 2020               PACHULSKI STANG ZIEHL & JONES LLP


                                      A/ Colin R. Robinson

                                      Henry C. Kevane(CA Bar No. 125757)
                                      John D. Fiero(CA Bar No. 136557)
                                      John W. Lucas(CA Bar No. 271038)
                                      James E. O'Neill(DE Bar No. 4042)
                                      Colin R. Robinson(DE Bar No. 5524)
                                      919 N. Market Street, 17‘^ Floor
                                      P. O. Box 8705
                                      Wilmington, DE 19899 (Courier 19801)

                                      Attorneys for Debtor and Debtor in Possession




DOCS SF:102552.2 83990/002                       8
              Case 18-11625-LSS             Doc 521     Filed 01/22/20     Page 15 of 15




                              DECLARATION OF COLIN R. ROBINSON


                 a)          I am Of Counsel with the applieant law firm Paehulski Stang Ziehl &

Jones LLP, and am admitted to appear before this Court.

                 b)          I am familiar with many of the legal serviees rendered by Paehulski Stang

Ziehl & Jones LLP as counsel to the Debtor. Capitalized terms used in this Declaration have the

same meanings ascribed in the Final Application for Compensation and Reimbursement of

Expenses as counsel to the Debtor for the Period from July 10, 2018 through January 10, 2020

(the “Final Application”).

                 c)          I have reviewed the foregoing Final Application and the facts set forth

therein are true and correct to the best of my knowledge, information and belief Moreover, I

have reviewed Del. Bankr. LR 2016-2, the Administrative Order signed on August 8, 2018, and

submits that the Final Application substantially complies with such rule and orders.

                                                   A/ Colin R. Robinson
                                                   Colin R. Robinson




DOCS SF:102552.2 83990/002
